     Case 2:25-cr-00154-SPG      Document 53-1 Filed 04/23/25   Page 1 of 2 Page ID
                                           #:312



 1
 2
 3
 4
 5
 6
 7
 8
                                UNITED STATES DISTRICT COURT
 9
                            CENTRAL DISTRICT OF CALIFORNIA
10
                                       WESTERN DIVISION
11
       UNITED STATES OF AMERICA,                    Case No. 2:25-CR-469-AB
12
                   Plaintiff,                       [PROPOSED] ORDER TO FILE IN
13                                                  CAMERA
             v.
14
       MAKSIM ZAITSEV,
15
                   Defendant.
16
17
18
             GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED that the
19
       Declaration of Counsel filed in support of Maksim Zaitsev’s Opposition to
20
       Government’s Motion In Limine #4 to Preclude Self-Defense Defense be filed in
21
       camera.
22
23
24
             OR IN THE ALTERNATIVE,
25
26
27
28
     Case 2:25-cr-00154-SPG    Document 53-1 Filed 04/23/25     Page 2 of 2 Page ID
                                         #:313



 1           NO GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED that
 2     the Declaration of Counsel filed in support of Maksim Zaitsev’s Opposition to
 3     Government’s Motion In Limine #4 to Preclude Self-Defense Defense not be filed, the
 4     document shall be returned to counsel for defendant.
 5
 6     DATED:                            By
 7                                            HON. SHERILYN PEACE GARNETT
                                              United States District Judge
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                   2
